                       IN THE UNITED STATES BANKRUPTCY COURT
                            NOTHERN DISTRICT OF ALABAMA
                                  NORTHERN DIVISON


IN RE:

Wanda Brown,                        )
SSN: XXX-XX-7896,                   )
                                    )                 CASE NO.: 21-82163-CRJ-13-CRJ
                                    )
      Debtor.                       )                 CHAPTER 13
___________________________________ )
                                    )
Wanda Brown,                        )
                                    )
      Plaintiff,                    )
                                    )
v.                                  )                 AP NO.:22-80159-CRJ
                                    )
Vinebrook Homes LLC,                )
                                    )
      Defendant.                    )

              JOINT MOTION TO APPROVE COMPROMISE AND SETTLEMENT
                              AND DISTRIBUTE FUNDS

         Comes now Wanda Brown (hereinafter “Debtor”) and Vinebrook Homes LLC (hereinafter

“Vinebrook”) pursuant to Rule 9019 of the Federal Rules of Bankruptcy Procedure (“Rule 9019”)

and jointly request the entry of an order approving this Joint Motion to Approve Compromise and

Settlement and in so doing state as follows:

         1.      The Court has jurisdiction over the subject matter herein and the parties hereto

pursuant to 28 U.S.C. § 1334, along with other related statutes and rules.

         2.      This is a core proceeding as defined by 28 U.S.C. § 157(b)(2)(A).

         3.      On December 15, 2021, the Debtor filed her voluntary petition for relief pursuant

to chapter 13 of Title 11 of the United States Code, 11 U.S.C. §§ 101, et seq.




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       4.      On March 8, 2022, the Debtor filed this present adversary proceeding. Despite

Vinebrook being listed as a creditor in the case, Debtor alleges that Vinebrook continued to contact

her regarding a past due amount and demanding payment on its debt. Once Vinebrook was notified

of the filing of Debtors’ petition, Vinebrook took steps to ensure that all communications were

halted; however, due to an unforeseen software glitch, Vinebrook’s automated software began

sending the Debtors notices after her petition was filed, unbeknownst to representatives for

Vinebrook. After receipt of the complaint in this adversary proceeding, Vinebrook corrected the

software problem that caused the sending of automated notices to the Debtor.

       5.      Vinebrook and the Debtor have negotiated in good faith and have reached an

agreement and compromise regarding their respective positions.

       6.      As a result of the aforementioned agreement, Vinebrook and the Debtor now seek

court approval of their agreement which constitutes, inter alia, a full and final compromise of the

dispute made the subject of the Adversary Proceeding.

       7.      The terms of the settlement are that within ten (10) business days of entry of an

order granting this motion, Vinebrook shall pay the total sum of $11,000.00 (“the Settlement

Amount”) in exchange for the dismissal of the Adversary Proceeding with prejudice. This amount

includes all costs and fees, including, but not limited to, Debtor’s attorney’s fees. Vinebrook will

not file a claim in the present case and has waived any arrearage which existed at the time of the

filing of the case. In addition, Vinebrook agrees that Debtor has an ongoing, valid lease for her

current residence up to and until October 31, 2022.

       8.      Pursuant to 11 U.S.C. §362(k)(1), Vinebrook shall pay to Debtor’s counsel a total

of $11,000.00 to settle any and all claims arising from this adversary proceeding. Debtor’s counsel

requests to retain $6,500.00 of the settlement representing 24.7 hours for the work performed in



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the preparation and prosecution of the adversary proceeding at an hourly rate of $300.00. Counsel

has worked diligently on this case since December 2021 and will continue to do so until the

proceeding closes. Counsel has reduced her fee from $7,410.00 to $6,500.00. Vinebrook shall

also pay $1,136.34 to Michele T. Hatcher, Chapter 13 Trustee to be applied towards the Debtor’s

bankruptcy estate with the balance of the funds in the amount of $3,363.66 being paid to the Debtor

per her claim of exemptions.



                                      LEGAL STANDARDS

        9.      Rule 9019 authorizes a bankruptcy court to approve compromise and settlements.

Approval or rejection of a compromise is left to the sound discretion of the bankruptcy court and

is to be determined by the particular circumstances of the case. The term “sound discretion”

denotes the absence of a hard and fast rule. When invoked as a guide to judicial actions, it

customarily means a decision giving due regard to what is right and equitable under the particular

circumstances of the case and applicable law. Langes v. Green, 282 U.S. 531, 541 (1931).

        10.     This Court is to review the proposed settlement under the directives of the Court of

Appeals for the Eleventh Circuit, as described in Wallis v. Justice Oaks, II, Ltd., 898 F.2d 1544

(11th Cir. 1990), cert. denied sub nom, Wallis v. Justice Oaks, II, Ltd., 498 U.S. 959 (1990). The

Court supplied the following criteria when determining the acceptability of a compromise: (a) the

probability of success in the litigation; (b) the difficulties, if any, to be encountered in the matter

of collection; (c) complexity of the litigation involved; (d) the expense, inconvenience, and delay

necessarily attending the litigation, including the possibility that denial of the settlement will cause

assets of the Estate to be depleted; and (e) the paramount interest of the creditors and a proper

deference to their reasonable views.       Id. at 5149.    See also Protective Comm. For Indep.



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Stockholders v. Anderson, 390 U.S. 424 (1968); Martin v. Kane , 784 F.2d 1377, 1381 (9th Cir.)

(quoting In re Flight Transp. Corp. Sec. Litig., 730 F.1d 1128, 1135 (8th Cir. 1984), cert. denied,

469 U.S. 1207 (1985)), cert. denied, 479 U.S. 854 (1986). The Court is required to decide whether

the settlement falls below the lowest point in a range of reasonableness. Anaconda-Ericsson v.

Hessen, 762 F.2d 185, 187-189 (2nd Cir. 1985), quoting Cosoff v. Rodman, 699 F.2d 599, 608

(2nd Cir. 1983).

       11.     Vinebrook and the Debtor believe this proposed compromise is reasonable and in

the best interest of the Debtor’s bankruptcy estate. Vinebrook and the Debtor submit that the

proposed settlement meets all of the requirements of the law of the above cited cases:

               a.     The probability of success: The outcome of bankruptcy litigation cannot be

                      predicted with certainty. Therefore, the Debtor faces the possibility that

                      after the incurrence of legal expenses, Vinebrook will not be found liable to

                      the Debtor.

               b.     The difficulties to be encountered in the matter of collection: This factor is

                      not an issue in the matter.

               c.     The complexity of the litigation: While the legal issues involved in the

                      litigation are not complex, the litigation is fact-intensive and thus discovery

                      would be required.

               d.     The expense, inconvenience, and delay necessarily attending the litigation,

                      including the possibility that denial of the settlement will cause assets of the

                      Estate to be depleted: As stated earlier, the allegations asserted by the

                      Debtor in the Adversary Proceeding are fact intensive and would require

                      extensive discovery.



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               e.      The paramount interest of the creditors and a proper deference to their

                       views: This settlement represents a fair compromise of the remaining

                       claims. The Debtor believes this settlement is in the best interest of her

                       bankruptcy estate and the remaining creditors of her bankruptcy estate.

       12.     Vinebrook and the Debtor reserve their rights to assert additional support for the

relief requested herein at any hearing on this joint motion.

       WHEREFORE, PREMISES CONSIDERED, the Debtor and Vinebrook respectfully

request the approval of the settlement discussed herein and such further relief as this court deems

appropriate.



       Submitted this 18th day of May, 2022.



                                                      /s/ Melissa W. Mitchell
                                                      Melissa W. Mitchell
                                                      Melissa Wimberley Law P.C.
                                                      521 Madison St., Ste. 201
                                                      Huntsville, Alabama 35801

                                                      Attorney for Debtor

                                                      and

                                                      /s/ Charles C. Dawson, Jr.
                                                      Charles C. Dawson, Jr. asb-3933-a55c
                                                      LAW OFFICE OF CHARLES C.
                                                      DAWSON, JR., LLC
                                                      173 Tucker Rd, Ste 202
                                                      Helena, Alabama 35080

                                                      Attorney for Vinebrook




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                                  CERTIFICATE OF SERVICE

       I certify that a copy of the foregoing has been filed and delivered via filing on the Court’s
CM/ECF system and upon the clerk’s matrix via U.S. mail, properly addressed and postage
prepaid, on the 19th day of May, 2022.


                                                     /s/ Melissa W. Mitchell
                                                     Of Counse




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